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                            Case19-08151
                                 19-08151 Doc
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                                                   Document    Page 1 of 5
      Fill in this information to identify your case:


      Debtor 1                Ronald                    Irving                    Gaines
                              __________________________________________________________________
                              First Name                       Middle Name           Last Name                                       Exhibit F
      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name           Last Name


      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __

                    19-08151
      Case Number ______________________________________________                                                      Check if this is:
       (If known)
                                                                                                                       X    An amended filing
                                                                                                                            A supplement showing post-petition
                                                                                                                            chapter 13 income as of the following date:
                                                                                                                            _______________
Official Form 106I                                                                                                          MM / DD / YYYY


Schedule I: Your Income
                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                           Debtor 1                                       Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                       X    Employed                                  Employed
          information about additional                    Employment status
                                                                                                 Not employed                              Not employed
          employers.

          Include part-time, seasonal, or
          self-employed work.
                                                          Occupation                    Police Officer
          Occupation may Include student
          or homemaker, if it applies.
                                                          Employers name                City of Chicago

                                                          Employers address             333 S. State St. Ste. 320

                                                                                        Chicago, IL 60604



                                                          How long employed there?      Since 9/1/1999


  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                                For Debtor 1              For Debtor 2 or
                                                                                                                                          non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                              $11,748.06                           $0.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                           $0.00                         $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                $11,748.06                       $0.00




Official Form 106I                         Record #   811593                  Schedule I: Your Income                                                                Page 1 of 2
                   Case
                   Case19-08151
                        19-08151 Doc
                                 Doc112
                                     98 Filed
                                        Filed12/09/21
                                              03/24/22 Entered
                                                       Entered12/09/21
                                                                03/24/2211:32:52
                                                                        11:48:48 Desc
                                                                                 DescMain
                                                                                      Main
                                          Document    Page 2 of 5
Debtor 1     Ronald                    Irving                    Gaines
             __________________________________________________________________                                                                          19-08151
                                                                                                                                Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                   non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.   $11,748.06                     $0.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.      $1,606.90                          $0.00
      5b. Mandatory contributions for retirement plans                                                                5b.        $925.66                          $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.      $1,624.00                          $0.00
      5d. Required repayments of retirement fund loans                                                                5d.            $0.00                        $0.00
      5e. Insurance                                                                                                   5e.        $387.86                          $0.00
      5f. Domestic support obligations                                                                                5f.            $0.00                        $0.00
      5g. Union dues                                                                                                  5g.          $76.00                         $0.00
      5h. Other deductions. Specify: ______________________________
                                          Life Insurance(D1), Charity(D1),                                            5h.          $32.62                         $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.      $4,653.04                          $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.    $7,095.02                    $0.00
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.           $0.00                        $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                        $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.          $ 0.00                      $ 0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.           $0.00                        $0.00
      8e.     Social Security                                                                                         8e.           $0.00                        $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                        $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                        $0.00
      8h.     Other monthly income. Specify: __________________________                                               8h.           $0.00                        $0.00
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.           $0.00                        $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                           =
                                                                                                                            $7,095.02                    $0.00                    $7,095.02
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.


11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                            11.           $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.     $7,095.02
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.
             Yes. Explain:




Official Form 106I              Record #          811593                                    Schedule I: Your Income                                                             Page 2 of 2
                              Case
                              Case19-08151
                                   19-08151 Doc
                                            Doc112
                                                98 Filed
                                                   Filed12/09/21
                                                         03/24/22 Entered
                                                                  Entered12/09/21
                                                                           03/24/2211:32:52
                                                                                   11:48:48 Desc
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                                                     Document    Page 3 of 5
   Fill in this information to identify your case:


      Debtor 1                Ronald                    Irving                    Gaines
                              __________________________________________________________________                             Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                X   An amended filing
      Debtor 2                __________________________________________________________________                                    A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                    income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __                                                  _______________
                    19-08151                                                                                                        MM / DD / YYYY
      Case Number ______________________________________________
      (If known)

                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
Official Form 106J                                                                                                                  maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
           X No. Go to line 2.

                 Yes. Does Debtor 2 live in a separate household?

                                   No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                                 No                                             Dependent's relationship to      Dependent's     Does dependent live
                                                                                                                  Debtor 1 or Debtor 2             age             with you?
           Do not list Debtor 1 and                          X     Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                         No
                                                                                                                  Daughter                              15
           Do not state the dependents'                                                                                                                              X Yes
           names.
                                                                                                                                                                     X No
                                                                                                                  Son                                   18
                                                                                                                                                                        Yes

                                                                                                                                                                     X No
                                                                                                                  Son                                   21
                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                                        Your expenses


 4.         The rental or home ownership expenses for your residence. Include first mortgage payments and
            any rent for the ground or lot.                                                                                                                4.                     $1,310.00
            If not included in line 4:

            4a.       Real estate taxes                                                                                                                   4a.                            $0.00

            4b.       Property, homeowner's, or renter's insurance                                                                                        4b.                            $0.00

            4c.       Home maintenance, repair, and upkeep expenses                                                                                       4c.                        $100.00
            4d.       Homeowner's association or condominium dues                                                                                         4d.                            $0.00


Official Form 106J                           Record #      811593                     Schedule J: Your Expenses                                                              Page 1 of 3
                      Case
                      Case19-08151
                           19-08151 Doc
                                    Doc112
                                        98 Filed
                                           Filed12/09/21
                                                 03/24/22 Entered
                                                          Entered12/09/21
                                                                   03/24/2211:32:52
                                                                           11:48:48 Desc
                                                                                    DescMain
                                                                                         Main
                                             Document    Page 4 of 5
Debtor 1     Ronald                    Irving                    Gaines
             __________________________________________________________________                                                 19-08151
                                                                                                       Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                            Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                      5.                         $0.00

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                                                         6a.                       $350.00

       6b.     Water, sewer, garbage collection                                                                                       6b.                        $70.00

       6c.     Telephone, cell phone, internet, satellite, and cable service                                                          6c.                       $525.00

       6d.     Other. Specify:____________________________________                                                                    6d.        $                    0.00

 7.    Food and housekeeping supplies                                                                                                  7.                       $650.00

 8.    Childcare and children’s education costs                                                                                        8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                                             9.                       $170.00

 10.   Personal care products and services                                                                                            10.                       $100.00

 11.   Medical and dental expenses                                                                                                    11.                       $170.00

 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                       $458.00
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                         $0.00

 14.   Charitable contributions and religious donations                                                                               14.                        $21.65
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                       $235.00

       15b. Health insurance                                                                                                         15b.                         $0.00

       15c. Vehicle insurance                                                                                                        15c.                       $250.00

       15d. Other insurance. Specify:_______________________________________                                                         15d.                         $0.00

 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

       Specify: ________________________________________________________                                                              16.                         $0.00

 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                       $604.00

       17b. Car payments for Vehicle 2                                                                                               17b.                       $278.00

       17c. Other. Specify:_______________________________________________                                                           17c.                         $0.00

       17d. Other. Specify:__________________________________________________________________                                        17d.                         $0.00

 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                         18.                         $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                         $0.00

 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.                         $ 0.00
       20b. Real estate taxes                                                                                                        20b.        $                    0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.        $                    0.00

       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.        $                    0.00

       20e. Homeowner’s association or condominium dues                                                                              20e.        $                    0.00




Official Form 106J                  Record #       811593              Schedule J: Your Expenses                                                        Page 2 of 3
                        Case
                        Case19-08151
                             19-08151 Doc
                                      Doc112
                                          98 Filed
                                             Filed12/09/21
                                                   03/24/22 Entered
                                                            Entered12/09/21
                                                                     03/24/2211:32:52
                                                                             11:48:48 Desc
                                                                                      DescMain
                                                                                           Main
                                               Document    Page 5 of 5
Debtor 1       Ronald                    Irving                    Gaines
               __________________________________________________________________                                                         19-08151
                                                                                                                 Case Number (if known) ______________________________
               First Name                       Middle Name                  Last Name



 21.                     Pet Care ($50.00), Postage/Bank Fees ($5.00), Housing for sons ($670.00), Student Loans ($394.81),
       Other. Specify: ________________________________________________________                                                                 21.                      $1,119.81
 22.. Your monthly expense: Add lines 4 through 21.                                                                                             22.                      $6,411.46
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.                 Copy line 12 (your comibined monthly income) from Schedule I.                                                      23a.                      $7,095.02

       23b.                 Copy your monthly expenses from line 22 above.                                                                     23b.   -                  $6,411.46

       23c.                 Subtract your monthly expenses from your monthly income.                                                           23c.            $683.56
                            The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
           X    No
                Yes.            Explain Here:




Official Form 106J                       Record #       811593            Schedule J: Your Expenses                                                               Page 3 of 3
